Case: 1:04-Cv-02423 Document #: 43 Filed: 02/23/06 Page 1 of 2 Page|D #:415

EN THE U'NFI'ED STATES DLSTRICT COURT
FOR THH NORUER'N DISTRIC'I` 'OF I.LLINOIS

EASTERN DIVISION
MIDTROT~IICS, INC. )
)
P\aintiff. )
)
v. ) No. 04 C 2423

} Judg¢ Amy J. St. Evo
DH€ SPECIAL'I'Y CORPORATION, }
)
Dcfz':ndan-t. )

 

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upon the Setdmnwt Agrwnent by and bat-wsm Midtmni¢&. fm and DHC Spccialt'y
Corporm'un, the parliou, by and through their respective ooun.-)el, stipulate and agrcc md consch
as follows:

l, This Court has jurisdiction liver the subject matter of the claims in the Compiaint
md over the parties .c`o.ti)is C'o‘nsent~.ldd§inenz.

2. Midf't\'mi¢€¢ rim is the warner of U.S. P`Bteul Nd. 5,8‘21,7'$6 (“tlz¢ ")'56 patcnt”] and
U.-S. Pazent No. 5,757,!92 (“tho. ‘192 parmt). 'I'he pmies agree-mat the ‘?56 parent and the ‘ 192
pa£mt- arc vaiid and enforceable n

3. mdmm¢s,` ma has med this mem agzinsr puc sizme corporation for
inii-Engcmcnt of usc or more claims of tim ‘?56 patent and the ‘192 patent by canada DHC
dovi¢es.

4. Th: Complm'nt_ for Patent hibingemcm is hereby dissatisfied without prejudico,

each party 10 beat _its own coscs.

 

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5. This Court shall main jurisdiction for purposes of enforcing the Settlcmcm

 

Agrcemcnt.
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Gary R'. Gil}m
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Wildman, Hhrrbld-, Allen & Dixou LLP-
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Susan Koegel
St:p£oe & J`ohnwn LLP
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